             Case 1:17-cv-09307-JPO Document 56 Filed 09/20/18 Page 1 of 4



                                                                          Fish & Richardson P.C.
VIA ECF                                                                   601 Lexington Avenue
                                                                          52nd Floor
                                                                          New York, NY 10022
September 19, 2018
                                                                          212 765 5070 main
                                                                          212 258 2291 fax



Honorable J. Paul Oetken, U.S.D.J.                                        Vivian Cheng
                                                                          Associate
United States District Court                                              cheng@fr.com
Southern District of New York                                             212 641 2293 direct
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re: King-Devick Test Inc. v. NYU Langone Hospitals et al., Case No. 1:17-cv-09307-JPO

Dear Judge Oetken:
        We represent Defendants NYU Langone Hospitals, New York University, Steven L.
Galetta, and Laura J. Balcer (together, “Defendants”) in the above-captioned action. We write,
with Plaintiff King-Devick Test Inc.’s (“Plaintiff”) consent, to request an extension of the current
case schedule and to add two interim deadlines to the schedule. The current and proposed
deadlines are set forth in the table below. The parties previously requested a sixty (60) day
extension of the deadlines in this action, which the Court granted on June 18, 2018 (Dkt. No. 54).
This letter motion is not made for the purposes of delay, but to ensure that the parties have
sufficient time to complete discovery. In addition, the parties have issued subpoenas to third
parties who they believe are in sole possession of certain material documents but who have not yet
produced documents, and this extension will give the parties the time necessary to collect the
documents from those third parties.1

        To date, the parties have exchanged initial disclosures, served and responded to document
requests and interrogatories, produced documents, and served personal and corporate deposition
notices. Plaintiff has produced over 24,000 documents and Defendants have produced over
112,000 documents. The parties are working diligently to review and produce their remaining
documents and anticipate that they will be substantially complete with document production by
September 30, 2018. In addition, Plaintiff has served document and deposition subpoenas on third
party University of Pennsylvania, and Defendants have served document and/or deposition
subpoenas on third parties Alan King, New York State Association of Optometry, and Illinois
College of Optometry. The parties have discussed the general timing of anticipated third party
productions and the need to coordinate the schedules of counsel, the parties, and multiple third
parties in different locations for depositions.



1
 These third parties include the University of Pennsylvania, for whom the individual defendants
worked when their relationship with the plaintiff began; and the Illinois College of Optometry,
where the work at issue in this matter was first created.


B4883688.1
             Case 1:17-cv-09307-JPO Document 56 Filed 09/20/18 Page 2 of 4



Honorable J. Paul Oetken, U.S.D.J.
September 19, 2018
Page 2

       The parties believe that an additional sixty-seven (67) days is necessary for them to
complete fact discovery. The parties also propose that the Court add a new deadline for the
substantial complete of document production by September 30, 2018, so that they may focus on
substantive written discovery pursuant to Local Civil Rule 33.3, third party discovery, and
depositions during the final two months of fact discovery.

        In addition, the parties propose that the Court add a new deadline for Defendant’s filing of
a Motion for the Issuance of a Request to the Register of Copyrights Pursuant to Section 411(b)(2)
of the Copyright Act, 17 U.S.C. § 411(b)(2). Section 411(b)(1) provides that:

                 A certificate of registration satisfies the requirements of this section and
                 section 412, regardless of whether the certificate contains any inaccurate
                 information, unless – (A) the inaccurate information was included on
                 the application for copyright registration with knowledge that it was
                 inaccurate; and (B) the inaccuracy of the information, if known, would
                 have caused the Registrar of Copyrights to refuse registration.

Section 411(b)(2) provides that:

                 In any case in which inaccurate information described under paragraph
                 (1) is alleged, the court shall request the Register of Copyrights to advise
                 the court whether the inaccurate information, if known, would have
                 caused the Register of Copyrights to refuse registration.

Here, Defendants have alleged that inaccurate information was knowingly included on a copyright
application. Plaintiff disputes this, but does not object to the setting of a deadline by which
Defendants may file a motion pursuant to Section 411(b)(2). Defendants request that this new
deadline be set as “TBD,” to be discussed at the Case Management Conference one week after the
close of fact discovery. In light of this new deadline, the parties also request that the expert and
summary judgment deadlines be extended as set forth below.

       Under the proposed new schedule, discovery would extend beyond the Case Management
Conference currently scheduled for October 9, 2018. The parties request that the Case
Management Conference be adjourned and propose that the conference be held on or around
December 14, 2018, at the Court’s convenience.




B4883688.1
             Case 1:17-cv-09307-JPO Document 56 Filed 09/20/18 Page 3 of 4



Honorable J. Paul Oetken, U.S.D.J.
September 19, 2018
Page 3

 Event                                  Current Deadline                Proposed Deadline
 Deadline for substantial
 completion of document                 N/A                             9/30/2018
 production
 Deadline to serve
                                        8/20/2018                       11/7/2018
 Interrogatories
 Deadline to serve Requests for         8/20/2018
                                                                        11/7/2018
 Admissions
 Deadline to complete depositions
                                        10/1/2018                       12/7/2018
 (other than expert depositions)
 Close of fact discovery                10/1/2018                       12/7/2018
 Case Management Conference                                             12/14/2018, or other date
                                        10/9/2018
 before Judge Oetken                                                    at the Court’s convenience
 Deadline for counsel for the
 parties to meet in person to           10/15"/2018                     12/21/2018
 discuss settlement
 Deadline to file a Motion for
                                                                        TBD, to be discussed at
 Issuance of Request to the             N/A                             12/14/2018 Case
 Register of Copyrights Pursuant
                                                                        Management Conference
 to 17 U.S.C. § 411(b)(2)
 Deadline to serve burden of
 proof expert disclosures and           10/9/2018                       2/15/2019*
 reports
 Deadline to serve rebuttal expert
                                        11/6/2018                       3/14/2019*
 disclosures and reports
 Close of expert discovery              11/19/2018                      4/19/2019*
 Deadline to file summary
                                        12/03/2018                      4/26/2019
 judgment motions


* Defendants do not believe that the expert deadlines should be set at this time since Defendants
intend to file a motion for summary judgment at the close of fact discovery. Although expert
report deadlines and the close of expert discovery were calendared by the Court initially,
Defendants’ understanding from the Initial Case Management Conference held on April 2, 2018,
is that the Court and the parties plan to discuss the specifics of these deadlines, such as which party
will submit expert reports first and whether reply reports will be permitted for the expert phase, at
the Case Management Conference to be held right after the close of fact discovery. Therefore,
Defendants propose that these deadlines be set as “TBD” until such conference, at which point the
summary judgment briefing dates and those dates can be set.


B4883688.1
             Case 1:17-cv-09307-JPO Document 56 Filed 09/20/18 Page 4 of 4



Honorable J. Paul Oetken, U.S.D.J.
September 19, 2018
Page 4

 Event                                 Current Deadline                 Proposed Deadline
                                                                        TBD, to be within 30 days
 Deadline to file Joint Pretrial                                        of the completion of all
 Order (*if no motion for              12/19/2018                       expert discovery, if no
 summary judgment is filed)                                             summary judgment motion
                                                                        is filed

        For the reasons set forth herein, the parties respectfully request that Your Honor grant
this extension of time and adopt the parties’ proposed discovery schedule set forth above.

Respectfully submitted,


                                 Granted. The parties' proposed amended discovery schedule is
                               hereby adopted.
                                 The pretrial conference previously scheduled for October 9,
Vivian Cheng                   2018, is hereby adjourned to December 14, 2018, at 11:30 a.m.
                                 So ordered.




                                                                         Dated: September 19, 2018
 _______________________________________
             J. PAUL OETKEN
         United States District Judge




B4883688.1
